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EOD 25!0/00 IN THE UNITED sTATEs DISTRICT coURT 315 m;-;‘;@;CT mgm
FoR THE EASTERN DISTRICT oF TEXAS 99 FEB |U pH 3; 31
BEAUMONT DIVISION T>;Ew';"t=s<H-m;;-KUMDNT
ARTHUR X. cARSoN § BY._/I)A; Qr~{,;;m.</
vs. § cIvIL ACTION No. 1=93cv386
R.E. MoRIN, ET AL. §
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The court previously entered a Final Judgment dismissing this
lawsuit pursuant to 28 U.S.C. § 1915(g). This action was based on
plaintiff’s inability to proceed in forma pauperis due to having
had three or more previous lawsuits or appeals dismissed as
frivolous or for failing to state a claim upon which relief may be
granted.

On April lO, 1997, prior to the entry of the Final Judgment,
the court entered an order for plaintiff to execute a consent form
authorizing the Texas Department of Criminal Justice, Institutional
Division (TDCJ-ID) to withdraw funds from his prisoner account in
accordance with 28 U.S.C. § 1915. On September 14, 1999, the
court, acting at plaintiff’s request, entered an order directing
the Texas Department of Criminal Justice, Institutional Division to
release the hold on plaintiff’s inmate trust account, refund to
plaintiff any funds collected regarding the above-styled action,
and to make no further withdrawals from his inmate account with
regard to this lawsuit.

Plaintiff has filed a motion (doc. no. 84) in which he asks

the court to impose sanctions against the Texas Department of

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Criminal Justice, Institutional Division for disobeying the court’s
previous order directing the department to make no further
withdrawals from his inmate account. Plaintiff has provided the
court with a copy of his Inmate Trust Fund Account Data Sheet which
indicates TDCJ-ID has failed to remove the hold on his account.

In view of the court’s earlier order, there should be no hold
on plaintiff’s inmate account. However, it does not appear, at
this point, that TDCJ-ID's failure to comply with the court’s prior
order was willful. It is therefore

ORDERED that plaintiff’s motion for sanctions is DENIED.
However, TDCJ-ID is DIRECTED to immediately release the hold placed
on plaintiff’s inmate trust account as a result of this lawsuit and
to refund to plaintiff any funds collected from the plaintiff’s
inmate trust fund as a result of this lawsuit. No further
withdrawals from plaintiff’s trust fund shall be made with re§p§g§
to this lawsuit. Copies of this Order shall be mailed to: (a)
TDCJ-ID Litigation Support Progranh Attention¢ Program Specialist,
P.O. Box 13084, Capital Station, Austin, Texas 78711 and (b) TDCJ-
ID Local Funds Division, Attention: Riley' Tilley, Assistant
Director, P.O. Box 629, Huntsville, Texas 77342-0629. It is further

ORDERED that the Office of the Attorney General shall, within
60 days of the date set forth below, inform the court and plaintiff
as to whether TDCJ-ID has complied with this Order. The Clerk of
Court shall provide a copy of this Order to Andy Taylor, First

Assistant Attorney General.

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sIGNED this fo day of cz¥l~#w€%)ad , 2000.

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JOE J\ FISHER t
UNITED sTATEs DISTRICT JUDGE

